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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       ) Criminal Action No. 1:23-cr-00061-MN
                                     )
ROBERT HUNTER BIDEN,                 )
                                     )
            Defendant.               )
                                     )
____________________________________)


   MR. BIDEN’S MOTION TO HOLD PRETRIAL DEADLINE FOR MOTIONS IN
    LIMINE IN ABEYANCE UNTIL THE MAY 14, 2024 STATUS CONFERENCE




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       Following the Court’s May 9, 2024 Scheduling Order (D.E.112), and with the

understanding that the Parties are presently scheduled to appear before Your Honor on Tuesday,

May 14, 2024 at a status conference (D.E.115, Order), Mr. Biden respectfully moves to hold the

pretrial deadline for filing motions in limine (May 13, 2024) in abeyance until the status conference

this coming Tuesday. There exists good cause to do so:

       1.      At 10:00 AM on May 10, defense counsel and the government’s counsel conferred

by telephone to discuss, among other things, the current pretrial schedule, including the deadline

for motions in limine presently set for May 13, 2024. (D.E.112 at ¶4.) Pursuant to the Court’s

Scheduling Order, during that call the parties exchanged the scope and subject matter of potential

motions in limine and whether the non-moving party opposes such motions, and both sides agreed

to take back and consider their respective positions in advance of the current deadline for filing

such motions. The parties are actively doing so as of the time of this filing.

       2.      At the conference on Tuesday, Mr. Biden anticipates raising with the Court several

considerations that merit, in Mr. Biden’s view, a reasonable but slightly modified pretrial and trial

schedule to take into account all that must still be done in advance of any potential trial in

Delaware—including, for example, the status of our finding and retaining potential defense

experts, preparing proposed jury instructions, preparing expert disclosures, filing and responding

to motions in limine, preparing exhibit and witness lists, and working with the Court and the

government on an adequate voir dire and jury selection process (i.e., a written questionnaire) that

takes into account the high profile nature of this prosecution. As they did with the Special Counsel,

Mr. Biden’s counsel assures the Court that it has been, and continues to be, working diligently to

prepare as thoroughly as possible under the Court’s current pretrial schedule, despite all that has

had to be prepared and drafted in recent weeks in litigation in two Courts of Appeals and in trial



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courts on both coasts, but Mr. Biden’s counsel cannot, at this time, adequately meet the May 13

deadline for filing motions in limine.

       3.      In addition, following the Third Circuit motion panel’s per curiam Order yesterday

(United States v. Biden, No. 24-1703, D.E.17-1 (3d Cir. May 9, 2024)), Mr. Biden will seek panel

rehearing and rehearing en banc of that decision. Mr. Biden also may address some issues raised

in that Order by filing additional motions in this Court. Live appellate issues before the Third

Circuit may cause a further delay of proceedings in this Court.

       4.      Relatedly, Mr. Biden and the Special Counsel remain in active litigation in the

Ninth Circuit and, yesterday, the California District Court indicated that it would like to proceed

to trial quickly if the Ninth Circuit permits litigation to go forward. Depending on what happens

in the California matter, Mr. Biden may face the burden of having to prepare for or actually do two

trials involving different issues on opposite sides of the country at once, involving the same

counsel. If such a burden does arise, Mr. Biden may need to seek an accommodation from this

Court, the California court, or both.

       5.      Mr. Biden makes this request of the Court to hold the motions in limine pretrial

deadline in abeyance by only one day, from May 13 to May 14, so defense counsel has an

opportunity to discuss these considerations, and others, with Your Honor on Tuesday and to set

forth a schedule going forward that is both realistic and reasonable given the outstanding appellate

and other legal issues. This is not being done for any other reason except to assure, with all pending

issues, that defense counsel can provide Mr. Biden with competent and effective assistance of

counsel.

       6.      This is Mr. Biden’s first request to hold a pretrial deadline in abeyance, and courts

routinely hold pretrial deadlines in abeyance while the parties work out procedural and other



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scheduling considerations. Moreover, by holding this deadline in abeyance, neither Mr. Biden nor

the government will be required to prematurely file their motions in limine while they continue to

discuss which motions may be necessary, and before this Court has an opportunity to weigh a

revised pretrial schedule with counsel. Neither party will be prejudiced by having the motions in

limine issue postponed until after the status conference.

       7.      Accordingly, Mr. Biden respectfully requests that the Court hold the pretrial

motions in limine deadline in abeyance through the status conference scheduled for Tuesday, May

14, until both parties have an opportunity to address the scheduling and appellate considerations

with the Court.



                                               Respectfully submitted,

Dated: May 10, 2024                            /s/ Abbe David Lowell
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of May, 2024, I filed the foregoing Motion with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing to all

counsel of record.


                                                    /s/ Abbe David Lowell
                                                    Abbe David Lowell

                                                    Counsel for Robert Hunter Biden




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